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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA

UNITED STATES OF AMERICA,                  )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )   Case No. 1:12-cr-00027-RDA-1
                                           )
YONATHAN MELAKU                            )
                                           )
      Defendant/Movant.                    )

     REPLY TO GOVERNMENT’S SUPPLEMENTAL MEMORANDUM IN
     OPPOSITION TO DEFENDANT’S MOTION UNDER 28 U.S.C. § 2255

      Yonathan Melaku (“Melaku”), by and through the undersigned counsel,

respectfully submits this Reply to the Government’s Supplemental Memorandum in

Opposition to Melaku’s Motion to Vacate, Set Aside or Correct Sentence Pursuant to

28 U.S.C. § 2255. In support thereof, Melaku offers the following:

      The Government’s Supplemental Memorandum provides numerous

conclusory arguments for finding an offense under 18 U.S.C. § 1361 categorically

qualifies as a crime of violence under 18 U.S.C. § 924(c)(3)(A). (Docket Entry “DE”

100). However, the Government’s unsupported and imaginative contentions are

wholly without merit. As discussed below, the Court should find that an offense

under § 1361 fails to qualify as a crime of violence for § 924(c) purposes. Melaku’s

conviction on Count Two should be vacated and Melaku should be sentenced anew.

      First, the Government alleges that it is simply not possible to commit more

than $1,000 in damage without the use of violent force. (DE 100 at 9). Curiously,

the Government fails to support this conclusion with anything further. This
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conclusory argument does not require additional analysis, as the Government has

failed to demonstrate how damages more than $1,000 relates to the use of physical,

violent force. Even so, as discussed below, an offense under § 1361 causing more

than $1,000 in damage can be committed without the use of violent force.

      As an alternative argument, the Government focuses on the use of

“depredation” in the statute. (DE 100 at 11). Utilizing the 1933 edition of Black’s

Law Dictionary, the Government concludes that an offense under § 1361 may be

committed by robbing, plundering and pillaging. Id. While the Government goes

into great detail about the evolution of these terms, it fails to cite to a single case

where robbing, plundering or pillaging was used to commit an offense under 18

U.S.C. § 1361. Instead, the Government relies on several cases related to piracy

instead of injury to Government property. Id. at 14.

      As its third argument, the Government contends that it is impossible to

violate § 1361 while causing more than $1,000 in damage by using only de minimis

force. Id. The Government concludes, once again, without any real legal analysis,

that “the question is whether a defendant can intentionally cause more than $1,000

in damage to property without using violent force. Purely as a matter of common

sense, the answer is clearly ‘no.’” Id. at 15. But the Government is mistaken as a

matter of law.

      The Tenth Circuit recently delved into the quantum of force required for a

crime of violence against property in United States v. Bowen, 936 F.3d 1091 (10th

Cir. 2019). There, the court was tasked with deciding whether witness relation




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convictions under 18 U.S.C. § 1513(b)(2) categorically qualify as crimes of violence

under 18 U.S.C. § 924(c)(3)(A). Id. at 1102. The court noted that witness retaliation

under the statute could be committed either by bodily injury to another person or by

damages to the property of another. Id. The court concluded that witness retaliation

through bodily injury undoubtedly qualifies as a crime of violence; however, witness

retaliation through damage to property does not. Id. at 1103.

      Relying on the Court’s definition of physical force in Curtis Johnson v. United

States, 559 U.S. 133, 140 (2010), the Tenth Circuit noted that “‘physical force‘”

means “‘force capable of causing physical pain or injury to another person.’” Id. And

the court noted that:

      [i]n construing [§924(c)(3)], we cannot forget that we ultimately are
      determining the meaning of the term “crime of violence.” The ordinary
      meaning of this term, combined with [§924(c)(3)(A)’s] emphasis on the use of
      physical force …, suggests a category of violent, active crimes ….

Bowen, 936 F.3d at 1102 (citing Leocal v. Ashcroft, 543 U.S. 1, 11 (2004)). With this

standard in mind, the Tenth Circuit held that property “crimes of violence” under §

924(c)(3)(A) must include violent force and not just injury to property. Id. at 1104.

Consistent with the reasoning in Bowen, the Court should reject the Government’s

argument that any injury to property necessarily requires violent force.

      Finally, the Government argues that Melaku “conflates the quantum of force

used to commit a crime with the object of the force itself.” (DE 100 at 16). The

Government next reasons:

      It is true that, in a colloquial sense, a defendant who vandalizes government
      property with spray paint has not done something “violent.” But if an
      offender were to empty a can of spray paint into another person’s face, there



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      would be no doubt that the offender had committed a violent assault. In both
      cases, however, the quantum of force–i.e., the force deployed by the
      purposeful release of pressurized chemicals–is the same, and in both cases
      the force is violent because it is capable of causing physical pain or injury to
      another person.

Id. (internal quotation marks and citation omitted). The Government’s argument is

logically flawed. While conceding that spray painting a government building is itself

not a crime of violence, the Government next contends that the same action against

a person would be a violent offense. But the Government’s jumps from a non-violent

property crime to a violent battery is a stretch beyond imagination. This, the

Government explains, is because of “some doctrinal oddness that results from

applying the definition of violent force that appears in Curtis Johnson to injury-to-

property crimes.” Id.

      The “doctrinal oddness” complained of is a result of the Government seeking

to apply the Curtis Johnson definition out of context to property crimes. Once again,

Bowen is instructive here:

      As with force applied against or towards people, not all force applied against
      property is “inherently violent. Some is the equivalent of offensive touching.
      It is, of course, easy to imagine any number of actions (such as spray-painting
      another’s car) that damage property but do not have the same inherent
      violence as overcoming the will of a robbery victim. The question, therefore,
      is: What amount of force against property qualifies as “violent force”?

      Although Stokeling held that a minimal amount of force–when directed
      against the person of another–satisfies Curtis-Johnson’s definition of “violent
      force,” Stokeling so held because force applied against or towards a person
      “need not cause pain or injury or even be prolonged” to be violence. It was
      enough that the robbery statute at issue required the perpetrator to overcome
      the will of his victim. This is not so of crimes against property; there is not
      inherent violence in, for example, spray-painting another’s car, [], or
      “threatening to throw paint on [another’s] house, … or … to pour chocolate
      syrup on his passport,”. Nothing about those actions is inherently violent, so



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      the mere fact that they damage property cannot make them crimes of
      violence under § 924(c)(3).

      For these reasons, we conclude that the Supreme Court’s ruling in Curtis
      Johnson cannot be applied to § 924(c)(3) in the same way the dissent and Hill
      II interpret it. That is, in the context of § 924(c)(3)’s definition of crime of
      violence, “physical force against the … property of another,” § 924(c)(3)(A),
      does not just mean force that “did or could cause physical pain or injury,”.

      We are left, then, with the Supreme Court’s guidance about when a crime is a
      crime of violence. In Curtis Johnson, the Court defined physical force as
      “violent force.” In Leocal, the Court exhorted that “we []not forget that we
      ultimately are determining the meaning of the term ‘crime of violence,’” and
      the “ordinary meaning of this term … suggests a category of violent, active
      crimes.” Finally, in Stokeling, the Court acknowledged that force applied
      against or towards a person, “need not cause pain or injury or even be
      prolonged” to be violent. Although spray-painting another’s car damages that
      person’s property, we cannot conclude that the mere fact that it damages
      property means that it requires “violent force,” or makes it a crime of violence
      under § 924(c)(3).

Bowen, at 1107-08 (emphasis in original, internal citations omitted).

      Contrary to the Government’s argument, “current doctrine” does not make it

appropriate to replace the property with a person as the object. (DE 100 at 16).

Rather, the Government cites to no such doctrine. However, Bowen clarifies that

force capable of injury to property does not automatically make that force violent.

Even more, the court in Bowen addressed a substantively similar argument as

here–spray painting property is not categorically a crime of violence under §

924(c)(3)(A). The Tenth Circuit also found this conclusion supported by United

States v. Landeros-Gonzales, 262 F.3d 424, 426-27 (5th Cir. 2001) (concluding that

“the intentional marking of another’s property” does not qualify as a crime of

violence for sentencing enhancement purposes”).




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      The Court should reject the Government’s argument that spray painting

government property–or excavating on government property–requires any level of

violent force. The appropriate question is not whether an excavator could use a

pickaxe against a person; it is whether digging on government property “suggests a

category of violent, active crimes.” Leocal, 543 U.S. at 11. Clearly, it does not.

      18 U.S.C. § 1361’s elements can be satisfied in a variety of non-violent ways.

Melaku has provided more than mere hypotheticals and has demonstrated that “the

most innocent conduct” penalized by the statute does not constitute a “crime of

violence.” United States v. Torres-Miguel, 701 F.3d 165, 167 (4th Cir. 2012).

Accordingly, a conviction under 18 U.S.C. § 1361 does not categorically qualify as a

crime of violence under 18 U.S.C. § 924(c)(3)(A). Melaku’s conviction on Count Two

should be vacated.

                                    CONCLUSION

      Based on the foregoing, the Court should grant Melaku’s 28 U.S.C. § 2255

motion, vacate his conviction on Count Two, and re-sentence Melaku on Counts One

and Three of the Information.




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                                  Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was duly filed and served on all

counsel of record via the Court’s CM/ECF system this 8th day of October 2020.



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